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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK
  - - --------------J- - - - - - - - -------x

  HONG LIU,
                         Plaintiff,
                                                                       Case No.: 1:20-cv-00019
                 -v.-
                                                                       AFFIDAVIT OF SERVICE
  FARADAY&FUTURE INC., SMART KING
  LTD., IlAWEI WANG, and CHAO YING
  DENG,

                         Defendants.
  -----------------------------------        ---------x


  I, Adam Jensen, being duly sworn, declare as follows under penalty of perjury:

  1.     I am a process server affiliated with Brannen Enterprises and I am registered as a process
         server in Los Angeles County, California.

  2.     On January 6, 2020, I caused a copy of the following documents issued in these
         proceedings to be served on FARADAY&FUTURE INC., at their office located at 18455
         S. Figueroa Street Gardena, CA 90248 by hand delivery of the documents to BRIAN
         FRITZ, Managing Counsel Litigation & Compliance, who represented that he was
         authorized to accept service on behalf ofFARADAY&FUTURE INC.:


         (a)     Summons       and     Complaint    with        Exhibits          A      and   B   addressed   to
                 FARADAY&FUTURE INC., dated January 6, 2020.

  I declare under penalty of perjury that the foregoing is true and correct.




  Sworn to before me this   i 1.
  day of January, 2020.
                                                             SONIA METZ VAN COTT
                                                            Notary Public - California
                                                              Los Angeles County
                                                             Commission# 2204109
                                                          My Comm. Expires Aug 2, 2021
